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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLORADO

Case No:

 POLARIS IMAGES CORP.,

                      Plaintiff,

               v.

 COLORADO SPRINGS
 GAZETTE, LLC,

                     Defendant.



                                       COMPLAINT



       Plaintiff Polaris Images Corp. (“Plaintiff”), by and through its undersigned counsel,

for its Complaint against Defendant Colorado Springs Gazette, LLC (“Defendant”) states

and alleges as follows:

                                    INTRODUCTION

       1.     This action seeks to recover damages for copyright Infringements under the

Copyright Act, 17 U.S.C §101 et seq.

       2.     Plaintiff herein possesses the exclusive right to distribute and reproduce

certain photographic works by which Plaintiff licenses same for various uses including to

online and print publications.

       3.     Defendant is a media company which owns and operates a website at

www.outtherecolorado.com (the “Website”).

       4.     Defendant, without permission or authorization from Plaintiff, actively


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copied and/or displayed the Photograph on the Website and engaged in this misconduct

knowingly and in violation of the United States copyright laws.

                                         PARTIES

       5.     Plaintiff Polaris Images Corp. is a New York corporation and maintains a

principal place of business in Sullivan County, New Hampshire.

       6.     Upon information and belief, Defendant Colorado Springs Gazette, LLC, is

a Colorado limited liability company with a principal place of business at 30 E. Pikes Peak

Avenue, Suite #100, Colorado Springs in El Paso County, Colorado.

                               JURISDICTION AND VENUE

       7.     This Court has subject matter jurisdiction over the federal copyright

Infringements claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.

       8.     This Court has personal jurisdiction over Defendant because it maintains its

principal place of business in Colorado.

       9.     Venue is proper under 28 U.S.C. §1391(a)(2) because Defendant does

business in this Judicial District and/or because a substantial part of the events or

omissions giving rise to the claim occurred in this Judicial District.

                           FACTS COMMON TO ALL CLAIMS

A.     Plaintiff's Copyright Ownership

       10.    The Photograph is an original, creative work in which Plaintiff possesses

protectable copyright interests.

       11.    On January 20, 1997, Randall Simons (“Simons”) authored a photograph of

JonBenet Ramsey smiling with a green backdrop and white flowers in her hair. (the

“Photograph”). A copy of the Photograph is attached hereto collectively as Exhibit 1.



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       12.     In creating the Photograph, Simons personally selected the subject matter,

timing, lighting, angle, perspective, depth, lens, and camera equipment used to capture

the image.

       13.     On or about June 21, 2018, Plaintiff acquired the exclusive rights to

license and/or distribute the Photograph as well as pursue violation(s) of same by

written agreement.

       14.     On July 11, 2018, the Photograph was registered by the USCO under

Registration No. VA 2-110-452.

       15.     Simons created the Photograph with the intention of it being used

commercially and for the purpose of display and/or public distribution.

B.     Defendant's Infringing Activity

       16.     Defendant is the registered owner of the Website and is responsible for its

content.

       17.     Defendant is the operator of the Website and is responsible for its content.

       18.     The Website is a key component of Defendant's popular and lucrative

commercial enterprise.

       19.     The Website is monetized in that it contains paid advertisements and, upon

information and belief, Defendant profits from these activities.

       20.     On or about December 22, 2021, Defendant displayed the Photograph on

the        Website     as      part     of      an      on-line     story     at       URL:

https://www.outtherecolorado.com/news/who-killed-jonben-t-ramsey-four-theories-that-

have-been-investigated-over-the-years/article_036a97b8-62b5-11ec-8cb7-

cf47d9547012.html?fbclid=IwAR0ugepKrvTt-iRhOKai7-



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paxuhOqD70EK1D7y_o3lUWklgYN3OY7gNPePs (“Infringement #1”). A copy of a

screengrab of the Website including the Photograph is attached collectively hereto in

Exhibit 2.

        21.   The           Photograph         was          stored           at        URL:

https://bloximages.newyork1.vip.townnews.com/outtherecolorado.com/content/tncms/as

sets/v3/editorial/3/94/394defcb-53ac-54ef-99c6-

cd675cee0396/61c26373343cd.image.jpg?resize=375%2C500.

        22.   Without permission or authorization from Plaintiff, Defendant volitionally

copied and/or displayed the Photograph on the Website.

        23.   Plaintiff first observed and actually discovered Infringement 1 on October 8,

2022.

        24.   On or about July 26, 2022, Defendant further displayed the Photograph on

the      Website       as      part      of    an      on-line       story        at   URL:

https://www.outtherecolorado.com/news/family-of-jonben-t-ramsey-petitions-polis-for-

access-to-dna-evidence/article_7e77d58a-0d08-11ed-9c61-0b25bbafa279.html

(“Infringement #2”). A copy of a screengrab of the Website including the Photograph is

attached hereto collectively in Exhibit 2.

        25.   The           Photograph         was          stored           at        URL:

https://bloximages.newyork1.vip.townnews.com/outtherecolorado.com/content/tncms/as

sets/v3/editorial/3/94/394defcb-53ac-54ef-99c6-

cd675cee0396/61c26373343cd.image.jpg?resize=375%2C500.

        26.   Without permission or authorization from Plaintiff, Defendant volitionally

copied and/or displayed the Photograph on the Website.



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        27.   Plaintiff first observed and actually discovered Infringement 2 on October 8,

2022.

        28.   On or about November 11, 2022, Defendant further displayed the

Photograph     on    the   Website      as   part    of    an     on-line   story   at   URL:

https://www.outtherecolorado.com/news/26-years-later-boulder-police-announce-next-

step-in-solving-jonben-t-ramsey-case/article_5cac27c2-61e4-11ed-90fa-

9f9ef8c44ca2.html?fbclid=IwAR1FI9lQ6ID1VmmhuwiP2P4oZ9LS3WiA0JFayEjnZEpLdn

SAcNPbnkR9s-A (“Infringement #3”). A copy of a screengrab of the Website including the

Photograph is attached hereto collectively in Exhibit 2.

        29.   The          Photograph          was              stored        at         URL:

https://bloximages.newyork1.vip.townnews.com/outtherecolorado.com/content/tncms/as

sets/v3/editorial/3/94/394defcb-53ac-54ef-99c6-

cd675cee0396/61c26373343cd.image.jpg?resize=375%2C500.

        30.   Without permission or authorization from Plaintiff, Defendant volitionally

copied and/or displayed the Photograph on the Website.

        31.   Plaintiff first observed and actually discovered Infringement 3 on March 7,

2023.

        32.   Upon information and belief, the Photograph was copied and displayed by

Defendant without license or permission, thereby infringing on Plaintiff's copyrights in and

to the Photograph (hereinafter all of the unauthorized uses set forth above are referred to

as the “Infringements”).

        33.   The Infringements each include a URL (“Uniform Resource Locator”) for a

fixed tangible medium of expression that was sufficiently permanent or stable to permit it



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to be communicated for a period of more than a transitory duration and therefore

constitutes a specific infringement. 17 U.S.C. §106(5).

       34.    The Infringements are exact copies of the vast majority of Plaintiff's original

image that were directly copied and displayed by Defendant on the Website.

       35.    Upon information and belief, Defendant takes an active and pervasive role

in the content posted on its Website, including, but not limited to copying, posting,

selecting, commenting on and/or displaying images including but not limited to the

Photograph.

       36.    Upon information and belief, Defendant directly contributes to the content

posted on the Website by, inter alia, directly employing reporters, authors and editors as

its agents, including but not limited to Tamera Twitty whose LinkedIn page lists her as a

“Digital Content Creator at OutThere Colorado” (the “Employees”).

       37.    Upon information and belief, at all material times the Employees were acting

within the course and scope of their employment when they posted the Infringements.

       38.    Upon information and belief, the Photograph was willfully and volitionally

posted to the Website by Defendant.

       39.    Upon information and belief, the Infringements were not posted at the

direction of a “user”, as that term is defined in 17 U.S.C. §512(c).

       40.    Upon information and belief, Defendant engaged in the Infringements

knowingly and in violation of applicable United States copyright laws.

       41.    Upon information and belief, Defendant has the legal right and ability to

control and limit the infringing activities on its Website and exercised and/or had the right

and ability to exercise such right.



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       42.    Upon information and belief, Defendant monitors the content on its Website.

       43.    Upon information and belief, Defendant has received a financial benefit

directly attributable to the Infringements.

       44.    Upon information and belief, the Infringements increased traffic to the

Website and, in turn, caused Defendant to realize an increase its revenues.

       45.    Upon information and belief, a large number of people have viewed the

unlawful copies of the Photograph on the Website.

       46.    Upon information and belief, Defendant at all times had the ability to stop

the reproduction and display of Plaintiff's copyrighted material.

       47.    The Photograph was created with the intention of it being used

commercially and for the purpose of display and/or public distribution.

       48.    Defendant's use of the Photograph, if widespread, would harm Plaintiff's

potential market for the Photograph.

       49.    As a result of Defendant's misconduct, Plaintiff has been substantially

harmed.

                                    FIRST COUNT
               (Direct Copyright Infringements, 17 U.S.C. §501 et seq.)

       50.    Plaintiff repeats and incorporates by reference the allegations contained in

the preceding paragraphs, as though set forth in full herein.

       51.    The Photograph is an original, creative work in which Plaintiff possesses

the exclusive right to distribute and reproduce.

       52.    The Photograph is properly registered with the USCO and all statutory

formalities under the Copyright Act and under regulations published by the USCO have

been complied with.


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       53.    Plaintiff has not granted Defendant a license or the right to use the

Photograph in any manner, nor has Plaintiff assigned any of its exclusive rights in the

copyright to Defendant.

       54.    Without permission or authorization from Plaintiff and in willful violation of

Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and illegally copied,

reproduced, distributed, adapted, and/or publicly displayed copyrighted works subject to

Plaintiff’s exclusive right to distribute and/or reproduce thereby violating Plaintiff's

exclusive rights in and to the Photograph.

       55.    Defendant's reproduction of the Photograph and display of the Photograph

constitutes willful copyright infringement.

       56.    Upon information and belief, Defendant willfully infringed upon the

Photograph in violation of Title 17 of the U.S. Code, in that Defendant used, published,

communicated, posted, publicized, and otherwise held out to the public for commercial

benefit the Photograph without Plaintiff's consent or authority, by using it on the Website.

       57.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is

entitled to an award of actual damages and disgorgement of all of Defendant's profits

attributable to the Infringements as provided by 17 U.S.C. § 504 in an amount to be

proven or, in the alternative, at Plaintiff's election, an award for statutory damages against

Defendant for each of the Infringements pursuant to 17 U.S.C. § 504(c).

       58.    As a result of the Defendant's violations of Title 17 of the U.S. Code, the

court in its discretion may allow the recovery of full costs as well as reasonable attorney's

fees and costs pursuant to 17 U.S.C. § 505 from Defendant.

       59.    As a result of Defendant's violations of Title 17 of the U.S. Code, Plaintiff is



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entitled to injunctive relief to prevent or restrain Infringements of his copyright pursuant to

17 U.S.C. § 502.

                                      JURY DEMAND

       60.    Plaintiff hereby demands a trial of this action by jury.

                                   PRAYER FOR RELIEF

       WHEREFORE Plaintiff respectfully requests judgment as follows:

       That the Court enters a judgment finding that Defendant has infringed upon

Plaintiff's rights to the Photograph in violation of 17 U.S.C. §501 et seq. and therefore

award damages and monetary relief as follows:

              a.     finding that Defendant infringed upon Plaintiff's copyright interest in

                     and to the Photograph by copying and displaying it without a license

                     or consent;

              b.     for an award of actual damages and disgorgement of all of

                     Defendant's profits attributable to the Infringements as provided by

                     17 U.S.C. § 504(b) in an amount to be proven or, in the alternative,

                     at Plaintiff's election, an award for statutory damages against

                     Defendant for each of the Infringements pursuant to 17 U.S.C. §

                     504(c), whichever is larger;

              c.     for an order pursuant to 17 U.S.C. § 502(a) enjoining Defendant from

                     any infringing use of any of Plaintiff's works;

              d.     for costs of litigation and reasonable attorney's fees against

                     Defendant pursuant to 17 U.S.C. § 505;

              e.     for pre-judgment interest as permitted by law; and



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            f.    for any other relief the Court deems just and proper.

DATED: March 31, 2023

                                      SANDERS LAW GROUP

                                      By:    /s/ Craig Sanders
                                      Craig Sanders, Esq.
                                      333 Earle Ovington Blvd, Suite 402
                                      Uniondale, NY 11553
                                      Tel: (516) 203-7600
                                      Email: csanders@sanderslaw.group
                                      File No.: 127351

                                      Attorneys for Plaintiff




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